                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

 UNITED STATES OF AMERICA,
                                             Case No. __________________________
                              Plaintiff,
                                             COUNTS ONE and TWO:
        v.                                   Receipt of Child Pornography
                                             Over the Internet
 ROBERT P. SALAPUDDIN,                       18 U.S.C. § 2252(a)(2)
 [DOB: 03/08/1982]                           NLT:     5 Years Imprisonment
                                             NMT: 20 Years Imprisonment
                              Defendant.     NMT: $250,000 Fine
                                             Supervised Release: 5 Years to Life
                                             Class C Felony

                                             COUNT THREE:
                                             Possession of Child Pornography
                                             18 U.S.C. §§ 2252(a)(4) and (b)(2)
                                             NMT: 10 Years Imprisonment
                                             NMT: $250,000 Fine
                                             Supervised Release: 5 Years to Life
                                             Class C Felony

                                             Criminal Forfeiture Allegation
                                             18 U.S.C. § 2253(a)
                                             (Forfeiture)

                                             $100 Mandatory Special Assessment
                                             Each Count

                                  SECRET INDICTMENT

       THE GRAND JURY CHARGES THAT:

                                           COUNT ONE

       On or about January 3, 2016, the date being approximate, in the Western District of

Missouri and elsewhere, ROBERT P. SALAPUDDIN, defendant herein, using any means or

facility of interstate or foreign commerce, knowingly received a visual depiction, separate and

apart from the visual depictions relied upon in Counts Two and Three, that had been shipped and

transported in, or affecting interstate and foreign commerce by any means including by computer,



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and the visual depiction contained material which had been shipped and transported in interstate

and foreign commerce by any means including by computer; and the production of the visual

depiction involved the use of a minor engaging in sexually explicit conduct, and such visual

depiction was of such conduct, and attempted to do so, in violation of Title 18, United States Code,

Section 2252(a)(2).

                                         COUNT TWO


       On or about January 5, 2016, the date being approximate, in the Western District of

Missouri and elsewhere, ROBERT P. SALAPUDDIN, defendant herein, using any means or

facility of interstate or foreign commerce, knowingly received a visual depiction, separate and

apart from the visual depictions relied upon in Counts One and Three, that had been shipped and

transported in or affecting interstate and foreign commerce by any means including by computer,

and the visual depiction contained material which had been shipped and transported in interstate

and foreign commerce by any means including by computer; and the production of the visual

depiction involved the use of a minor engaging in sexually explicit conduct, and such visual

depiction was of such conduct, and attempted to do so, in violation of Title 18, United States Code,

Section 2252(a)(2).

                                        COUNT THREE

       On or about January 11, 2017, in the Western District of Missouri, ROBERT P.

SALAPUDDIN, knowingly possessed one or more films, videotapes and other matter which

contained one or more visual depictions, separate and apart from the visual depictions relied upon

in Counts One and Two, which involved a minor, that had been shipped and transported in or

affecting interstate commerce, by any means including by computer, and which were produced

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using materials which had been shipped and transported in interstate and foreign commerce by any

means including by computer; and the production of the visual depictions involved the use of

minors engaging in sexually explicit conduct, and were visual depictions of such conduct, all in

violation of Title 18, United States Code, Section 2252(a)(4).

                                 FORFEITURE ALLEGATION

       The allegations contained in Counts One, Two, and Three are realleged and are

incorporated by reference herein for the purpose of alleging forfeiture of: any visual depiction

described in Title 18, United States Code, Section 2252, or any film, videotape, or other matter

which contains any such visual depiction, which was transported, mailed, shipped, or received in

violation of these sections; any property, real or personal, constituting or traceable to gross profits

or other proceeds obtained from such offenses; and any property, real or personal, used or intended

to be used to commit or to promote the commission of such offenses; including, but not limited to

the following:

       1.        HARCFL099569-Dell        Dimension 8300 desktop computer, Service Tag
                 #96K0Q31;

       2.        HARCFL099699-Seagate, ST380011A 80 GB hard drive, s/n 3JV5M8JY from the
                 Dell desktop above;

       3.        HARCFL099700-Western Digital 160 GB hard drive, s/n WCAV37124246 from
                 the Dell desktop above;

       4.        HARCFL099567-HP Compaq Presario C500 laptop, s/n 2CA70113R9;

       5.        HARCFL099701-Seagate ST98823A3 80 GB SATA hard drive, s/n 5PK3RHS9
                 from the HP Compaq laptop above;

       6.        iPhone 5, s/n DX392F0TFF9Y received from the defendant on or about January
                 11, 2017 at his residence; and



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        7.      iPhone 6+, s/n FK1NPBPBG5QF received from the defendant on or about January
                11, 2017 at his residence.

        All in violation of Title 18, United States Code, Section 2253.

                                              A TRUE BILL.


                                              /s/ Shannon Cassidy
                                              FOREPERSON OF THE GRAND JURY


/s/ David A. Barnes
David A. Barnes, Mo Bar #40031
Assistant United States Attorney
Special Victims Unit


Date:         6/26/19
         Kansas City, Missouri




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